Case 1:17-cV-03942-ARR-RER Document 27 Filed 06/11/18 Page 1 of 2 Page|D #: 101

LAW OFFICES OF MARTIN E. RESTITUYO, P.C.
1345 Avenue of the Americas, 2“d Floor, New York, New York 10105

Martin E. Restituyo

Tel: 212-729-7900

Fax: 212-729-7490
restituvo@restituvolaw.com

 

June11,2018

ECF

Honorable Ramon E. Reyes, Jr.
United States Magistrate Judge
United States District Court
Eastern District of New York

225 Cadman Plaza East, Rm. N208
Brooklyn, New York 112()1

Re: Cortes v Juquila Mexican Cuisine Corp.; 1:17-cv-3942 (ARR)(RER)

Dear Judge Reyes:

This finn represents the defendants in the above referenced matter. We submit this letter
to ask for clarification and/or an extension of the existing scheduling order so that defendants
may move for summaryjudgment.

On September 13, 2017, the parties submitted a proposed Case Management Plan that
Was never signed by the Court [Dkt. 15]. Thereafter, on January 22, 2018, the Court issued a
Scheduling Order with respect to some of the relevant dates for this case. On March 30, 2018,
the Scheduling Order was modified once more.

The proposed Case Management Plan at paragraph 7 stated that all pre-motion letters
regarding dispositive motions must be submitted one week aHer the close of discovery. It is
unclear whether in the absence of a signed Case Management Plan that date still stands
Nevertheless, defendants request an extension Within which to tile a pre-motion letter of
summary judgment

The request is based on the fact that just today defendants received electronic transcripts
of the depositions of all 5 plaintiffs, taken on May 30 and May 31, 2018. Moreover, a quick
review of the depositions indicates that there is no basis in law or fact for the inclusion of
defendant Juquila Kitchen and Bar Corp. in this action.

In addition to formulating its legal arguments, defendants must still send plaintiffs copies
of their transcripts so that they may review and sign off as to their accuracy.

Page 1 on

Case 1:17-cV-03942-ARR-RER Document 27 Filed 06/11/18 Page 2 ot 2 Page|D #: 102

LAW OFFICES OF MARTIN E. RESTITUYO, P.C.
1345 Avenue of the Americas, 2“d Floor, New York, New York 10105

Thus, for the reasons set forth above, defendants request clarification with respect to
when pre-motion letters of dispositive motions are due. In the alternative, defendants request a
30-day extension so that plaintiffs are afforded the opportunity to review their transcripts for
accuracy, prior to defendants making their motion for summary judgment

 

 

Page 2 of 2

